Case 1:23-cv-01056-JPH-KMB          Document 13           Filed 09/25/23   Page 1 of 4 PageID #: 86




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

  LISA SMITH on behalf of herself and all             )
  others similarly situated,                          )
  ELISA STROFFOLINO on behalf of herself )
  and all others similarly situated,                  )
                                                      )
                              Plaintiffs,             )
                                                      )
                           v.                         )       No. 1:23-cv-01003-JPH-KMB
                                                      )
  APRIA HEALTHCARE LLC,                               )
                                                      )
                              Defendant.              )
  ---------------------------------------------------
  RITA MAY, et al.,                                   )
                                                      )
                              Plaintiffs,             )
                                                      )
                           v.                         )       No. 1:23-cv-01072-JPH-KMB
                                                      )
  APRIA HEALTHCARE LLC,                               )
                                                      )
                              Defendant.              )
  ---------------------------------------------------
  CHAD HOHENBERRY,                                    )
                                                      )
  Plaintiff,                                          )
                                                      )
                           v.                         )       No. 1:23-cv-01074-JPH-KMB
                                                      )
  APRIA HEALTHCARE LLC,                               )
                                                      )
  Defendant.                                          )
  ---------------------------------------------------
  VICTORIA THOMAS,                                    )
                                                      )
                              Plaintiff,              )
                                                      )
                           v.                         )       No. 1:23-cv-01096-JPH-KMB
                                                      )
  APRIA HEALTHCARE, LLC,                              )
                                                      )
                              Defendant.              )
                                                 1
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  ---------------------------------------------------
  SUZANNE CUYLE,                                      )
                                                      )
  Plaintiff,                                          )
                                                      )
                           v.                         )       No. 1:23-cv-01042-JPH-KMB
                                                      )
  APRIA HEALTHCARE, LLC,                              )
                                                      )
  Defendant.                                          )
  ---------------------------------------------------
  LEONARDO DEPINTO,                                   )
                                                      )
  Plaintiff,                                          )
                                                      )
                           v.                         )       No. 1:23-cv-01056-JPH-KMB
                                                      )
  APRIA HEALTHCARE LLC,                               )
                                                      )
  Defendant.                                          )
  ---------------------------------------------------
  ROBERT N. HERRERA,                                  )
                                                      )
                              Plaintiff,              )
                                                      )
                           v.                         )       No. 1:23-cv-01031-JPH-KMB
                                                      )
  APRIA HEALTHCARE LLC,                               )
                                                      )
                              Defendant.              )
  ---------------------------------------------------
  PAUL KRAMER,                                        )
                                                      )
                              Plaintiff,              )
                                                      )
                           v.                         )       No. 1:23-cv-01066-JPH-KMB
                                                      )
  APRIA HEALTHCARE, LLC,                              )
                                                      )
                              Defendant.              )
  ---------------------------------------------------
  HEATH PATRICK HUMPHRIES, et al.,                    )
                                                      )
                              Plaintiffs,             )
                                                      )
                           v.                         )       No. 1:23-cv-01147-JPH-KMB
                                                 2
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                                                      )
  APRIA HEALTHCARE, LLC,                              )
                                                      )
                              Defendant.              )
  ---------------------------------------------------
  ANTHONY BOYD,                                       )
                                                      )
                              Plaintiff,              )
                                                      )
                           v.                         )       No. 1:23-cv-01085-JPH-KMB
                                                      )
  APRIA HEALTHCARE LLC,                               )
                                                      )
                              Defendant.              )
  ---------------------------------------------------
  CHRISTINE CURRY,                                    )
                                                      )
                              Plaintiff,              )
                                                      )
                           v.                         )       No. 1:23-cv-01153-JPH-KMB
                                                      )
  APRIA HEALTHCARE, LLC,                              )
                                                      )
                              Defendant.              )
  ---------------------------------------------------
  B.B.,                                               )
                                                      )
                              Plaintiff,              )
                                                      )
                           v.                         )       No. 1:23-cv-01187-JPH-KMB
                                                      )
  APRIA HEALTHCARE GROUP, LLC,                        )
                                                      )
                              Defendant.              )
  ---------------------------------------------------
  ILYA RABINOVICH,                                    )
                                                      )
                              Plaintiff,              )
                                                      )
                           v.                         )       No. 1:23-cv-01205-JPH-KMB
                                                      )
  APRIA HEALTHCARE, LLC,                              )
                                                      )
                              Defendant.              )
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  DEBBIE BOBBITT,                                )
                                                 )
                            Plaintiff,           )
                                                 )
                       v.                        )       No. 1:23-cv-01166-JPH-KMB
                                                 )
  APRIA HEALTHCARE LLC,                          )
                                                 )
                            Defendant.           )


                                           ORDER

        The Court accepts Magistrate Judge Barr's recommendation, dkt. [44] to

  procedurally close the following cases after consolidation:

  1:23-cv-01072-JPH-KMB
  1:23-cv-01074-JPH-KMB
  1:23-cv-01096-JPH-KMB
  1:23-cv-01042-JPH-KMB
  1:23-cv-01056-JPH-KMB
  1:23-cv-01031-JPH-KMB
  1:23-cv-01066-JPH-KMB
  1:23-cv-01147-JPH-KMB
  1:23-cv-01085-JPH-KMB
  1:23-cv-01153-JPH-KMB
  1:23-cv-01187-JPH-KMB
  1:23-cv-01205-JPH-KMB
  1:23-cv-01166-JPH-KMB

        Thus, the Clerk is directed to procedurally close these cases. All

  deadlines and hearing settings are vacated, and all pending motions in this

  matter are terminated without prejudice.

  SO ORDERED.

  Date: 9/25/2023


  Distribution:

  All electronically registered counsel.


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